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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

REGENERON PHARMACEUTICALS, INC.              )      C. A. No.: 22-00697-RGA-JLH
                                             )
              Plaintiff,                     )      JURY TRIAL DEMANDED
                                             )
                           v.                )      PUBLIC VERSION
                                             )
AMGEN INC.,                                  )
                                             )
              Defendant.                     )

                     OPENING BRIEF OF DEFENDANT AMGEN INC.
                       IN SUPPORT OF ITS MOTION TO DISMISS

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                       NATURE AND STAGE OF THE PROCEEDING

        Defendant Amgen Inc. (“Amgen”) moves under Federal Rule of Civil Procedure 12(b)(6)

 to dismiss the Complaint filed by Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron”).

                    INTRODUCTION AND SUMMARY OF ARGUMENT

        Regeneron, a very large drug company, complains that its competitor Amgen sets its prices

 too low. Regeneron sells Praluent®, which treats high LDL (“bad”) cholesterol, and Amgen sells

 a competing medicine, Repatha®. Powerful insurance companies and other drug buyers use

 competition between Regeneron and Amgen to obtain significant price concessions on these drugs.

 Amgen, Regeneron alleges, has lowered the prices of Repatha® and its other medicines in order to

 convince insurance companies and health plans to cover Repatha®, and to do so exclusively.

 Regeneron complains in this action about that competition, insisting it cannot compete for

 contracts on these terms and at these low prices. But antitrust law does not condemn—indeed, it

 embraces—competition and low prices. For that reason, Regeneron’s claims face a very high bar,

 and its allegations do not come close to meeting the standards required to state a claim.

        Amgen and several other biotechnology companies have developed PCSK9 inhibitors, a

 novel class of medicines that treat high LDL cholesterol. These medications, taken intravenously,

 can be used by patients when, for example, more conventional high-cholesterol medicines, such

 as statins, have not been effective. PCSK9 inhibitors cost more than statins and other oral

 medications, however, and health insurers are wary about covering them.

        Since 2015, there have been two PCSK9 inhibitors available to U.S. patients, Repatha® and

 Praluent®. (A third, Leqvio®, was approved at the end of 2021). As a result, health insurers and

 other buyers, such as pharmacy benefit managers (“PBMs”), have been able to pit Regeneron and

 Amgen against one another to drive down dramatically the prices they pay for these drugs. That

 is not surprising, because these insurers and PBMs are massive companies with an enormous


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 amount of market clout. Large PBMs like CVS/Caremark have annual sales in the hundreds of

 billions of dollars—more than ten times larger than Amgen. Both Amgen and Regeneron have

 granted significant price concessions in order to persuade these buyers to cover their medicines

 and make them available to patients—particularly since Repatha® and Praluent® are similar

 enough that many health plans believe that they need not cover both of them.

          Invoking the antitrust laws, Regeneron now asks the Court to interfere with this

 competition. But even ignoring the many errors and false assumptions in Regeneron’s complaint,

 the Supreme Court has cautioned courts to be skeptical of litigants seeking to impose antitrust

 liability for low prices. “To avoid chilling aggressive price competition, [courts] have carefully

 limited the circumstances under which plaintiffs can state a Sherman Act claim by alleging that

 prices are too low.”1 Applying the Court’s guidance, just last week the Tenth Circuit dismissed

 another antitrust case challenging rebate agreements, explaining that “[t]he proper balance

 between health plan premiums and formulary coverage is better struck through the workings of

 the private market than the judiciary.”2 And a company like Regeneron, with $16 billion in annual

 sales, neither needs nor is legally entitled to any special protection from competition.

          Regeneron has failed to allege facts plausibly suggesting that Amgen’s price reductions

 violate the antitrust laws. Regeneron claims that Amgen provides rebates on two of its other

 medicines—Otezla® and Enbrel®—in three agreements with large drug buyers—Express Scripts

 Part D, Express Scripts Commercial, and Optum Commercial—in return for their agreement to

 cover Repatha® exclusively, i.e., excluding Praluent®. Even if that were true (and it is not), under

 well-established case law, to have the potential to be exclusionary, contracts must block access to


 1
     Pacific Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 451 (2009).
 2
     In re: EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., --- F.4th ---,
       2022 WL 3009140, at *19 (10th Cir. July 29, 2022).


                                                   2
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 at least 40%–50% of sales in the market, and lock in customers for significant periods of time.

 That is not the case here. Regeneron does not allege that Amgen’s contract with Express Scripts

 Part D expressly provides for exclusivity, and its claim of “de facto” exclusivity is not plausible.

 Moreover, Regeneron’s allegations of exclusivity for Amgen’s contract with Optum Commercial

 are belied by the contract itself (which the Court may consider on this motion). That leaves only

 Amgen’s agreement with Express Scripts Commercial, which Regeneron alleges covers only 15%

 of the alleged market. That is far too low to support a claim of competitive foreclosure.

        Nor does Regeneron plausibly allege that any of these contracts “lock-in” customers for a

 significant period of time. The contracts themselves show just the opposite—each allows PBMs

 and insurers to stop covering Repatha® and start covering Praluent® at any time and for any reason.

 That also precludes a finding that the contracts are exclusionary.

        Regeneron fares no better with its allegations of “below cost” pricing. Customers benefit

 from low prices, even if allegedly below cost. For that reason, courts do not allow antitrust claims

 based on below-cost pricing unless the plaintiff alleges that the prices will knock out the

 competition and allow the defendant to raise prices later to recoup its losses on these sales. But

 there are no plausible allegations here that Regeneron, a massive drug company, is likely to remove

 Praluent® from the market or that, if it did, other competitors would not step in.

        Similarly, Regeneron has not adequately alleged, as it must to state an antitrust claim for

 exclusionary conduct, that Amgen has somehow coerced PBMs and insurers to treat Repatha®

 favorably by threatening to withhold discounts on a “must have” drug with “monopoly power.”

 Regeneron spends pages and pages explaining how Amgen’s Otezla® purportedly has “monopoly

 power” and that Amgen supposedly withholds rebates on Otezla® from Optum and Express Script

 unless they select Repatha® as their exclusive PCSK9 inhibitor. But, as the contracts confirm,




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  Amgen does not condition any discounts for Otezla® on these customers covering Repatha®.

           Nor do Regeneron’s allegations that Amgen grants rebates on Enbrel® for PBMs and

  insurers that choose to cover Repatha® plausibly suggest “coercive” or exclusionary conduct

  because PBMs and health plans have numerous alternatives to Enbrel®. PBMs and health plans

  that are dissatisfied with the pricing on Enbrel® can simply choose to cover other treatments for

  rhetumatoid arthritis instead, including, most prominently, Humira®, the best selling drug in the

  world. Enbrel® is not a “must have”—indeed, Optum has designated Humira®, not Enbrel®, the

  “preferred” rheumatoid arthitis drug on its drug formulary. Because Regeneron has failed to plead

  facts plausibly suggesting that Enbrel® has market power, it has failed to plead that granting rebates

  on Enbrel® in exchange for favorable coverage for Repatha® could be coercive or exclusionary.

           Regeneron can, of course, choose to make a better offer to PBMs and insurers than Amgen.

  Indeed, the Complaint notably omits any plausible allegations about why Regeneron could not

  offer more favorable terms on its own massive blockbuster drugs—like Dupixent®, a pharmacy

  benefit drug (like Praluent® and Repatha®) that costs over $50,000 per year and earned Regeneron

  over $4 billion3 in the U.S. in 2021—in return for favorable treatment for Praluent®. If Regeneron

  makes a better offer, PBMs and insurers are completely free to switch coverage from Repatha® to

  Praluent®, as they have numerous times in the past several years. But what Regeneron apparently

  wants is a competitive shield from this Court—something the antitrust laws do not provide.

                                      STATEMENT OF FACTS

  I.       Competition Among PCSK9 Inhibitors

           Patients often participate in a prescription drug plan—either through commercial insurance

  or Medicare Part D—that pays some or all of the costs of their prescription medications. See



  3
      Form 10-K, https://investor.regeneron.com/static-files/c9a14dfa-086f-4c2f-8a1b-ed5d018edacc.


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  Compl. ¶¶ 46–48. As a result, the costs of prescription drugs in the U.S. are largely borne by these

  third-party payors (“TPPs”). Id. TPPs, in turn, often contract with PBMs to manage their

  prescription plans. Id. The “three most dominant” PBMs in the United States are Express Scripts,

  Inc. (“ESI”), CVS/Caremark (“CVS”), and UnitedHealthcare/OptumRx (“Optum”). Id. ¶ 53.

         Manufacturers of branded prescription medicines compete not only by convincing

  physicians and patients on the merits of their products, but also by offering competitive prices to

  these large buyers. Id. ¶ 51. One way that TPPs and PBMs work to obtain better drug prices is by

  maintaining “formularies,” which list medicines that a particular TPP covers and under what terms.

  Id. ¶ 49. TPPs (or their PBMs) then negotiate with manufacturers for rebates off the medicines’

  list prices in return for favorable formulary coverage. Id. ¶ 51. When TPPs and PBMs can credibly

  claim that a drug has close substitutes, they can demand and receive even larger rebates from

  manufacturers in order to include their medicines on formularies. See id. ¶¶ 52, 62.

         Praluent® and Repatha® are direct competitors. Regeneron alleges that PBMs and TPPs

  have extracted “unprecedented” rebates by “pit[ting]” the two drugs “against each other” in “head-

  to-head competition” for exclusive formulary placement. Id. ¶¶ 51–53 n.51, 62. Of course they

  have. Repatha® and Praluent® have competed vigorously from the start. Initially, ESI chose to

  cover both drugs. ESI then determined it could obtain higher rebates if it chose to include only

  one PCSK9 inhibitor on its formularies and, from July 2018 to July 2019, covered only Praluent®.

  Id. ¶¶ 55, 76. ESI switched to Repatha® in July 2019. Id. Similarly, for the past four years, CVS

  and Optum have regularly switched between covering both drugs, and covering only one.

  Currently, CVS chooses to cover only Praluent® and Optum chooses to cover only Repatha®.

         Repatha® and Praluent® were the only PCSK9 inhibitors approved by the FDA until

  December 2021, when “the FDA approved a new PCSK9 inhibitor manufactured by Novartis




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  Pharmaceuticals Corporation . . . called Leqvio®.” Id. ¶ 42. Regeneron’s most recent Form 10-K

  filed with the SEC identifies Leqvio® as a “Competitor Product” to Praluent®.4

  II.      Regeneron’s Flawed Allegations Regarding Otezla® and Enbrel® Rebates

           A.     Regeneron Alleges That Amgen Has Conditioned Customers’ Rebates on
                  Otezla® and Enbrel® on Customers Covering Repatha® and Not Praluent®

           The Complaint focuses on rebates that it alleges Amgen provided in its agreement with ESI

  relating to commercial health plans (“ESI Commercial”) and with Optum relating to commercial

  plans (“Optum Commercial”). Regeneron claims “Amgen has conditioned significant rebates for

  Enbrel® and Otezla®,” over which it says Amgen has “monopoly” or “market” power, respectively,

  on these PBMs granting “exclusivity or practical exclusivity” for Repatha® on their formularies.

  Id. ¶¶ 18, 96, 113, 119. Regeneron alleges these “highly valuable” rebates have foreclosed

  Praluent® from accessing these PBMs’ businesses, which allegedly cover 15.27% and 7.05%,

  respectively, of PCSK9 inhibitor prescriptions, because the customers “cannot avoid purchasing,”

  and thus “cannot afford” to “los[e] rebates” on, Otezla® and Enbrel®. Id. ¶¶ 3, 18–19, 71, 96.

           While Regeneron does not allege that Amgen’s agreement with ESI relating to Medicare

  Part D (“ESI Part D”) expressly conditions rebates on Repatha® exclusivity, it alleges “de facto”

  exclusivity because, it claims, “Amgen’s conduct directed at ESI Commercial drove ESI’s Part D

  formulary,” allegedly covering 7.7% of the market, “to exclude Praluent® as well.” Id. ¶¶ 81, 96.

           Regeneron also alleges that “other, relatively smaller Third-Party Payors . . . such as

  Humana, Cigna, and Prime” cover only Repatha®, although it does not allege why. See id. ¶ 96.

           B.     Amgen’s Contracts With Optum Commercial and ESI Commercial Show
                  That They Are Not Exclusionary, and That Key Allegations Made by
                  Regeneron Are Incorrect

           The Court may evaluate Regeneron’s allegations in light of the actual agreements


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      Form 10-K, https://investor.regeneron.com/static-files/c9a14dfa-086f-4c2f-8a1b-ed5d018edacc


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  the complaint, ‘a court may consider an undisputedly authentic document that a defendant attaches

  as an exhibit to a motion to dismiss if the plaintiff’s claims are based on the document.’” City of

  Pittsburgh v. W. Penn Power Co., 993 F. Supp. 332, 336 n.10 (W.D. Pa.) (quoting Pension Benefits

  Guar. Corp. v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993)). Courts routinely

  consider written agreements where, as here, antitrust claims are based on them. See, e.g., Warren

  Gen. Hosp. v. Amgen Inc., 2010 WL 2326254, at *4 (D.N.J. June 7, 2010) (“[T]he Complaint’s

  characterization of [plaintiff] as a direct purchaser is squarely contradicted by the purchase

  contracts on which the Complaint relies.”), aff’d, 643 F.3d 77 (3d Cir. 2011); Pro Search Plus,

  LLC v. VFM Leonardo, Inc., 2013 WL 3936394, at *2 n.2 (C.D. Cal. July 30, 2014) (considering

  allegedly exclusionary contracts “[b]ecause [the] Complaint relies upon the contracts”).

         The Court may therefore consider Amgen’s actual agreements with ESI Commercial and

  Optum Commercial, because they comprise a fundamental part of Regeneron’s antitrust claims.

  See, e.g., Compl. ¶ 186 (“Amgen has entered into agreements with at least ESI Commercial, ESI

  Part D, and UHC/Optum Commercial, whereby Amgen has conditioned and tied the availability

  of rebates for Otezla® and Enbrel® upon exclusive or de facto exclusive formulary coverage for

  the purchase Repatha®.”).      Moreover, “[w]hen there is a disparity between a complaint’s

  allegations and the written instruments on which the allegations or claims are based, the written

  instrument controls.” Warren Gen. Hosp., 2010 WL 2326254, at *3 (citing ALA, Inc. v. CCAir,

  Inc., 29 F.3d 855, 859 n.8 (3d Cir. 1994)). Thus, while Regeneron’s allegations fail on their own,

  the Court can also disregard Regeneron’s inaccurate claims regarding contracts it can see for itself.

                                            ARGUMENT

  I.     Regeneron Has Not Plausibly Alleged Any Anticompetitive Conduct

         Regeneron’s federal and state antitrust claims all require Amgen to have “engaged in

  anticompetitive conduct.” Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 402 (3d Cir.


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  2016); see Cnty. of Tuolumne v. Sonora Comm. Hosp., 236 F.3d 1148, 1160 (9th Cir. 2001);

  Menkes v. St. Lawrence Pilots Ass’n, 269 Fed. Appx. 54, 55 n.3 (2d Cir. 2008). Where, as here,

  the challenged conduct is exclusionary contracting, the “rule of reason” (discussed below) governs

  the analysis. ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 271 (3d Cir. 2012). Where “price is

  [allegedly] the clearly predominant mechanism of exclusion,” then “predatory pricing principles,

  including the price cost-test . . . control.” Id. at 273–274. Under these standards, Regeneron has

  failed to allege that either Amgen’s contract terms or its low prices are actionable.

         A.      Regeneron’s Allegations That Amgen’s Contracts Are Unlawful Fail Under
                 The Rule Of Reason

         “Exclusive dealing agreements are often entered into for entirely procompetitive reasons,

  and generally pose little threat to competition.” ZF Meritor, 696 F.3d at 270. It is only in the “rare

  case” that “exclusive dealing would pose a threat to competition.” Id. at 285. Indeed, even

  exclusive rebate agreements have been recognized as procompetitive: “No one can seriously

  dispute that exclusive rebate agreements stimulate price competition in the prescription drug

  market.” In re: EpiPen, 2022 WL 3009140, at *20. Thus, accepting on this motion Regeneron’s

  assertion (Counts 1–2) that “pricing . . . is not the clearly predominant means by which [Amgen]

  forecloses competition,” Compl. ¶¶ 148, 157, “the rule of reason is the proper framework . . . to

  evaluate [those] claims,” ZF Meritor, 696 F.3d at 277. Under the rule of reason:

         There is no set formula for evaluating the legality of an exclusive dealing
         agreement, but modern antitrust law generally requires a showing of significant
         market power by the defendant, substantial foreclosure, contracts of sufficient
         duration to prevent meaningful competition by rivals, and an analysis of likely or
         actual anticompetitive effects considered in light of any procompetitive effects.
         Courts will also consider whether there is evidence that the dominant firm engaged
         in coercive behavior, and the ability of customers to terminate the agreements. The
         use of exclusive dealing by competitors of the defendant is also sometimes
         considered.”

  Id. at 271–72 (citations omitted, emphases added).



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         Regeneron has failed to allege that Amgen’s agreements with ESI Commercial, ESI Part

  D, and Optum Commercial are anticompetitive under these standards. Regeneron (1) fails to allege

  Amgen’s agreements with ESI Part D and Optum Commercial are exclusive or de facto exclusive;

  (2) alleges only 15.27% foreclosure—far short of the 40% to 50% courts generally require for

  “substantial foreclosure”; (3) does not plausibly allege the contracts are of sufficient duration to

  be exclusionary; (4) fails to allege coercion; and (5) itself employs exclusive dealing.

             1. Regeneron Has Not Plausibly Alleged That Amgen’s Agreements With ESI
                Part D Or Optum Commercial Are Exclusive

         “A threshold requirement for any exclusive dealing claim is necessarily the presence of

  exclusive dealing.” ZF Meritor, 696 F.3d at 282. This requires either an “express exclusivity

  requirement” or “de facto exclusivity,” i.e., where although dealing exclusively in the defendant’s

  products is not expressly required, doing so is nonetheless “as effective as mandatory.” Id.

  Regeneron has failed to plausibly allege either for ESI Part D or Optum Commercial.

         First, Regeneron does not allege that Amgen’s ESI Part D contract provides any bundled

  rebate in exchange for covering Repatha® (and, in fact, it does not). Regeneron’s sole allegation

  with respect to ESI Part D is instead speculation on “information and belief” that “Amgen’s

  conduct directed at ESI Commercial drove ESI’s Part D formulary . . . to exclude Praluent®” as

  well because “formulary access decisions” for “commercial and Part D plans” are “generally made

  on a consistent or uniform basis in the interest of administrative convenience.” Compl. ¶ 81

  (emphasis added). Putting aside Regeneron’s failure to assert facts in support of this conclusory

  assertion, even if ESI Part D did include Repatha® just for “administrative convenience,” that

  would not make Amgen’s contract with ESI Part D de facto exclusive. Regeneron’s allegations

  provide no facts whatsoever that plausibly explain why ESI Part D could not, at any time, simply

  forego this supposed “administrative convenience.” Moreover, drug manufacturers and PBMs



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  typically negotiate their Medicare and commercial rebates separately in order to satisfy

  transparency in drug price reporting requirements—indeed, that is one reason why there are

  separate agreements. One prominent example of a PBM’s commercial and Part D formularies

  treating Repatha® differently is UnitedHealthcare, which covers only Repatha® on its commercial

  formulary, but covers both Repatha® and Praluent® for Part D.10 Regeneron’s claims of “de facto”

  exclusivity based on supposed “administrative convenience” are thus implausible.

         Second, Regeneron does not plausibly allege that Amgen’s agreement with Optum

  Commercial conditions any rebate on Repatha® exclusivity, or that the agreement prohibits Optum

  Commercial’s formulary from covering Praluent®. See Compl. ¶¶ 82–85. Regeneron’s Complaint

  is mere speculation, pled “on information and belief.”       Id. ¶ 84.    Moreover, Regeneron’s

  speculation is incorrect—



               11



                                              Thus, it is not exclusive.

         Regeneron’s fallback theory appears to be that “even ‘equal’ formulary position [is] de

  facto exclusive.” Compl. ¶ 17. Treating Repatha® and Praluent® equally, however, is not

  exclusivity—it is just the opposite. Regeneron’s two additional arguments do not show otherwise.

         First, Regeneron contends that Praluent® was penalized in the marketplace because it was

  under “the threat of an injunction” while “Amgen’s patent-litigation . . . was still pending before

  the Federal Circuit.” Id. But under the Noerr-Pennington doctrine, any purported effects from

  Amgen’s patent lawsuit cannot support an antitrust claim because the lawsuit is protected by the


  10
     See Stock Decl., Ex. G at 9; id., Ex. H at 7. For each formulary cited in this memorandum of
  law, the Declaration of Eric J. Stock includes a URL to the publicly available version online.
  11
     See, e.g., Stock Decl., Ex. A, at Ex. A § 5A.iv.e (p. 19).


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  First Amendment. See In re Wellbutrin XL Antitrust Litig., 868 F.3d 132, 147–49 (3d Cir. 2017).

  Regeneron does not contend that the lawsuit was in any way a sham. Id.

         Second, Regeneron complains that even if the contract allows Optum Commercial to treat

  Repatha® and Praluent® equally, Amgen’s “massive sales force” can “influence physicians to

  prescribe Repatha® over Praluent®.” Compl. ¶ 17. That is a complaint about Amgen being

  competitive and supporting its product; it is not a legally cognizable grievance. Regeneron’s

  choice not to deploy a significant sales force for Praluent® raises questions about its ability to

  prove causation in this case, but it cannot turn a non-exclusive agreement into an exclusive one.12

             2. Regeneron Makes No Plausible Claim That Amgen’s Agreements With ESI
                And Optum Foreclose It From A Substantial Portion Of The Market

         In pleading exclusive dealing, “‘[t]he share of the market foreclosed is important because,

  for the contract to have an adverse effect upon competition, the opportunities for others to enter

  into or remain in that market must be significantly limited.’” ZF Meritor, 696 F.3d at 286 (quoting

  United States v. Microsoft Corp., 253 F.3d 34, 70 (D.C. Cir. 2001)) (alteration and ellipses

  omitted). Consequently, anticompetitive exclusive dealing requires not simply foreclosure, but

  “substantial foreclosure.” Id. at 271 (emphasis added); see also Eisai, 821 F.3d at 403 (“Although

  the test is not total foreclosure, the challenged practices must bar a substantial number of rivals or

  severely restrict the market’s ambit.” (alteration and quotations omitted)).

         While “[t]here is no fixed percentage at which foreclosure becomes substantial,” Eisai, 821

  F.3d at 403 (quotations omitted), “foreclosure of 40% to 50% is usually required,” ZF Meritor,




  12
      Nor is there antitrust significance to Regeneron’s unsupported claims that Amgen’s
  salespeople “disseminate[d] misleading facts regarding the safety and availability of Praluent®,”
  Compl. ¶ 66. Absent coercion to heed the allegedly false admonitions, allegations of “deception,
  reprehensible as it is, can be of no consequence so far as the Sherman Act is concerned.” Santana
  Prods., Inc. v. Bobrick Washroom Equip., Inc., 401 F.3d 123, 132 (3d Cir. 2005).


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  696 F.3d at 286 (citing LePage’s Inc. v. 3M, 324 F.3d 141, 159 (3d Cir. 2003)). The Third Circuit

  has accordingly rejected exclusive dealing challenges to agreements foreclosing just 15% of the

  market, see Barr Labs, Inc. v. Abbott Labs., 978 F.2d 98, 111 (3d Cir. 1992), while upholding

  challenges to agreements foreclosing 85% of the market, see ZF Meritor, 696 F.3d at 287.

         Regeneron cannot overcome this hurdle. According to Regeneron, the alleged bundled

  rebates have excluded Praluent® from the formularies of ESI Commercial, ESI Part D, and Optum

  Commercial, which respectively allegedly account for 15.27%, 7.7%, and 7.05%, or, in total,

  30.02%, of PCSK9 inhibitor “prescriptions covered.” Compl. ¶ 96. But correcting for the fact

  that Amgen’s agreements with ESI Part D and Optum Commercial do not provide for a bundled

  rebate for exclusive coverage of Repatha®, Regeneron is left with only one contract, with alleged

  foreclosure of merely 15.27%. See In re: EpiPen, 2022 WL 3009140, at *24 (citing Tampa Elec.

  Co. v. Nashville Coal Co., 365 U.S. 320, 330–33 (1961)). That leaves the vast majority of the

  market open and means that Amgen’s conduct cannot possibly be considered anticompetitive.13

         Moreover, even if the Court were to credit Regeneron’s allegation that certain “smaller

  Third-Party Payors” also cover Repatha® exclusively,” Compl. ¶ 96, Regeneron alleges no facts

  suggesting that including some of these smaller TPPs would take the degree of foreclosure from

  15% to anything close to the “40% to 50% . . . usually required” for foreclosure to be “substantial.”

  ZF Meritor, 696 F.3d at 286. Indeed, Regeneron does not plead that every single one of these

  “smaller TPPs” allegedly covers Repatha® as a result of the challenged bundled discounts, and

  only TPPs with the challenged contractual provisions would count towards the foreclosure level.

  See id. at 271 (“The legality of an exclusive dealing arrangement depends on whether it will



  13
     Regeneron’s theory of supposed “spillover” foreclosure, see, e.g., Compl. ¶¶ 98–100, is
  meritless and fails. See In re: EpiPen, 2022 WL 3009140, at *24–25 (“refus[ing] to recognize
  [the] theory of spillover foreclosure”).


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  foreclose competition in such a substantial share of the market.” (emphasis added)).

          Accordingly, Regeneron’s allegations do not plausibly contend that the challenged bundled

  rebates foreclose it from 40–50% of the market, as required to demonstrate substantial foreclosure.

  Id. at 286; In re: Epipen, 2022 WL 3009140, at *20 (rejecting antitrust challenge to rebate contracts

  with only 31% foreclosure); Barr Labs, 978 F.2d at 111 (deeming 15% foreclosure unsubstantial).

              3. Regeneron Has Failed To Allege That Amgen’s Agreements With Optum
                 And ESI Have Sufficient Durations To Exclude Competition, And The
                 Contracts Themselves Show That They Do Not

          Under applicable legal standards, contracts of three or fewer years are generally too short

  in duration to be exclusionary. The Third Circuit has stated that “short-term agreements . . . present

  little threat to competition.” ZF Meritor, 696 F.3d at 286. As the Tenth Circuit recently explained

  in rejecting antitrust claims based on allegedly exclusive rebate agreements, “[it] is axiomatic that

  short, easily terminable exclusive agreements are of little antitrust concern; a competitor can

  simply wait for the contracts to expire or make alluring offers to initiate termination.” In re:

  EpiPen, 2022 WL 3009140, at *21 (rejecting antitrust challenge to rebate agreements where “most

  of the contracts imposed terms of two and a half years or less and included termination provisions

  allowing either party to terminate the agreements without cause on 90-days’ written notice or

  less.”). See also Barry Wright Corp. v. ITT Grinnell Corp., 724 F.2d 227, 237 (1st Cir. 1983)

  (contract of “about two years” too short to be anticompetitive); Balaklaw v. Lovell, 14 F.3d 793,

  799 (2d Cir. 1994) (no injury to competition “since the contract . . . has a term of only three years”).

          Regeneron alleges that Amgen’s bundled rebate contract with ESI Commercial lasts for

  only two years. See Compl. ¶ 80 (alleging “exclusive position” for two years). And it fails to

  assert any duration for Amgen’s alleged bundled rebates with other customers. See id. ¶¶ 81–85.

  The Complaint thus, on its face, fails to allege anticompetitive duration for any contract.

          Moreover, this Court can consider the fact that, as in EpiPen, Amgen’s agreements with


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  ESI Commercial and Optum Commercial have no required duration at all for Repatha® coverage.

  The contract terms do not require any particular formulary coverage for Repatha®; they simply

  grant rebates during the period that the PBM chooses to cover Repatha® under the terms specified.14

  In other words, the contracts allow the PBMs to remove Repatha® from formularies at any time

  and for any reason. Once removed, the rebates provided for Repatha® coverage would cease.15

  Amgen’s contracts thus do not require these PBMs to cover Repatha® (or not cover Praluent®) for

  any duration (or at all), which is wholly antithetical to the notion of an exclusive arrangement.

           It is well-established that such “easily terminable” coverage decisions pose no threat to

  competition. ZF Meritor, 696 F.3d at 287; In re: EpiPen, 2022 WL 3009140, at *21. Indeed, at

  will termination is more competitively benign than other termination rights deemed too flexible to

  be exclusionary. See, e.g., Balaklaw, 14 F.3d at 799 (rejecting challenge where the contracts “may

  be cancelled without cause upon six months’ notice”); In re: EpiPen, 2022 WL 3009140, at *21

  (rejecting challenge where “most of the contracts . . . included termination provisions allowing

  either party to terminate the agreements without cause on 90-days’ written notice or less.”).

           In short, no contractual lock-in is plausibly alleged in the Complaint, and none is evidenced

  from the contracts themselves. The contracts leave the field wide open for Regeneron to compete.

               4. Regeneron Fails To Allege Coercion

           “Exclusive dealing will generally only be unlawful where . . . there is some element of

  coercion present.” ZF Meritor, 696 F.3d at 284. Regeneron contends that Amgen’s agreements

  offer supposedly “coercive rebates” that “leav[e] Payors with no viable choice but to exclude

  Praluent® from their formularies.” Compl. ¶ 148; see also, e.g., id. ¶¶ 72, 79. But courts are clear




  14
       See generally, e.g., Stock Decl., Ex. A; id., Ex. B.
  15
       Id.


                                                     16
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  that “the threat of a lost discount,” including a rebate on pharmaceuticals, is “a far cry” from

  coercion. Eisai, 821 F.3d at 407; In re: EpiPen, 2022 WL 3009140, at *27 (“Sanofi fails to

  demonstrate coercion because the loss of an additional discount was the only consequence PBMs

  faced for rejecting Mylan’s exclusive rebate agreements.”); see also Race Tires Am., Inc. v.

  Hoosier Racing Tire Corp., 614 F.3d 57, 79 (3d Cir. 2010) (“it is no more an act of coercion . . .

  to offer more money . . . than it is . . . to offer the lowest . . . prices”).

          Regeneron has not plausibly alleged coercion prompted by the loss of rebates as a result of

  unfavorable formulary treatment for Repatha®. As noted, no Otezla® rebates at all are conditioned

  on Repatha® coverage. See supra at Statement of Facts § II.B.1. And for Enbrel®, it is not

  plausible that Optum or ESI would be “coerced” by the loss of a small additional rebate on that

  drug because there are numerous alternatives to Enbrel® for the treatment of rheumatoid arthritis.

  Indeed, Enbrel® is not even the “preferred” rheumatoid arthritis treatment on Optum’s formulary;16

  that designation instead belongs to Humira®.17
                                                                                       18



          Further, ESI, Optum, and other PBMs “clearly want” Amgen and Regeneron to “compet[e]

  to become the exclusive supplier,” which “is a vital form of rivalry, and often the most powerful

  one,” by forcing suppliers to offer the best deals they can. Race Tires Am., Inc. v. Hoosier Racing

  Tire Corp., 660 F. Supp. 2d 590, 605–06 (W.D. Pa. 2009) (quotation marks and citation omitted).

              5. Regeneron Admits It Contracts For Exclusive Formulary Treatment

          Courts also consider the “use of exclusive dealing by competitors of the defendant.” ZF


  16
      See Stock Decl., Ex. I at 5 (listing Enbrel® as a Tier 3, i.e., non-preferred, drug).
   17
      See id., Ex. I at 5 (listing Humira® as a Tier 2, i.e., “preferred,” drug); see also Section II
  (explaining why Enbrel® lacks market power)
   18
      See id., Ex. A, at Ex. A § 5A.iv.e. Here, we address Regeneron’s claims of anticompetitive
  contractual provisions. Section I.B addresses Regeneron’s claims based on Amgen’s low pricing.


                                                       17
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  Meritor, 696 F.3d at 272. As the Tenth Circuit explained in In re: EpiPen: the plaintiff’s “use of

  exclusive rebate agreements confirms what is otherwise abundantly clear in the record: PBMs

  used exclusivity to encourage price competition.” In re: EpiPen, 2009 WL 3009140, at *25. Like

  the plaintiff in In re: EpiPen, Regeneron admits that it enters agreements for exclusive formulary

  placement for its product, i.e., Praluent®. Indeed, in touting its earlier “collaboration” with ESI,

  Compl. ¶ 70, Regeneron cites an ESI press release announcing that “Praluent . . . will be the

  exclusive PCSK9 inhibitor on our National Preferred Formulary beginning July 1, 2018.” See id.

  ¶ 70 n.60 (citing ESI press release). Praluent® is also the only PCSK9 inhibitor listed on the

  formulary of CVS,19 which Regeneron notes is “the second largest PBM.” Id. ¶ 53, n.51.

          Regeneron acknowledges that exclusive formulary placement is procompetitive because it

  is the result of “head-to-head competition” between Repatha® and Praluent® and “generate[s] price

  concessions, discounts, and rebates” that “lower[] . . . prices” for consumers. Id. ¶¶ 51, 62; see

  also In re EpiPen Mktg., Sales Pracs. & Antitrust Litig., 545 F. Supp. 3d 922, 1011 (D. Kan. 2021)

  (noting that “use of exclusive dealing contracts is common in the pharmaceutical industry,” and

  “PBMs use exclusive rebating practices as a way to negotiate lower prices . . . by offering preferred

  formulary placement in exchange for greater rebates.”). Thus, while Praluent® once was, and

  Repatha® now is, the only PCSK9 inhibitor on ESI Commercial’s formulary, that balance may

  shift again if Regeneron chooses to compete.

          Regeneron has thus not pled exclusionary contract by Amgen under the rule of reason.

          B.      Regeneron Has Failed To Plausibly Allege That Amgen’s Bundled Rebates
                  Result In Anticompetitive Below-Cost Prices

          Regeneron’s antitrust claims based on anticompetitive pricing also fail because they do not




  19
       See Stock Decl., Ex. J at 5 (listing Praluent® as sole PCSK9 inhibitor).


                                                   18
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  meet the stringent standards applicable to such a claim. To assert a claim based on anticompetitive

  pricing, a plaintiff must plead “that (1) the rival’s low prices are below an appropriate measure of

  its costs and (2) the rival had a dangerous probability of recouping its investment in below-cost

  prices.” Eisai, 821 F.3d at 408 (footnote omitted, citing Brooke Grp. Ltd. v. Brown & Williamson

  Tobacco Corp., 509 U.S. 209, 222–24 (1993)). Regeneron has failed to plausibly allege either.

         Regeneron tries to allege that Amgen prices Repatha® below an appropriate measure of its

  costs by falsely assuming that for ESI Commercial, Amgen conditioned rebates “totaling $210

  million . . . for Enbrel®, Otezla®, and Repatha®” on Repatha® coverage. Compl. ¶ 78. But as

  Amgen’s actual agreement shows, Amgen does not condition Otezla® rebates on Repatha®

  coverage. See supra at Statement of Facts § II.B.1. Thus, the calculations in the Complaint—

  incorporating Otezla® rebates that are not lost if a customer switches from Repatha® to Praluent®—

  cannot support Regeneron’s claim. Regeneron thus fails to plausibly allege below-cost pricing.

         Regeneron also fails to allege a dangerous probability of recoupment, which is necessary

  to show that consumers would be harmed by any below-cost pricing. See In re: EpiPen, 2022 WL

  3009140, at *17–19, *17 n.7. This requires plausible allegations that “given the aggregate losses

  caused by the below-cost pricing, the intended target would likely succumb.” Brooke Grp., 509

  U.S. at 225. But Regeneron pleads only that Amgen’s pricing “could be fatal to Praluent®,” and

  that it is merely “consider[ing] . . . an exit from the PCSK9i market . . . or some other significant

  scaling back of the product.” Compl. ¶¶ 159 (emphases added), 179. That is far from a dangerous

  probability of exiting, or “that exit from the market has occurred or is imminent.” R.J. Reynolds

  Tobacco Co. v. Cigarettes Cheaper!, 462 F.3d 690, 695 (7th Cir. 2006).

         Regeneron has not plausibly alleged that Praluent® is in dire straits or likely to exit the

  market. Its allegations show Praluent® has been, and remains, regularly considered by major




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  PBMs as a strong candidate for exclusive PCSK9 inhibitor status. Indeed, Praluent® currently is

  the only PCSK9 inhibitor on the formulary of CVS,20 “the second largest PBM,” Compl. ¶ 53,

  n.51. And the short-term, fleeting nature of these formulary decisions confirms Praluent® is fully

  able to compete—even for business from PBMs and TPPs that currently cover only Repatha®. See

  id. ¶¶ 55, 76. Moreover, Regeneron does not—and cannot—allege that it is unable to offer a

  bundle comparable to Amgen’s—for example, with its $4.7 billion blockbuster drug Dupixent®.21

  See ZF Meritor, 696 F.3d at 274 n.11 (citing LePage’s, 324 F.3d at 155).

         Moreover, in a real below-cost pricing scenario, Amgen would need to recoup its alleged

  losses by charging supracompetitive prices after a Praluent® exit.          But Regeneron has not

  adequately alleged Amgen could charge monopolistic prices for Repatha® after a Praluent® exit.

  Regeneron argues Leqvio® does not compete with Praluent® on price, but Regeneron lists Leqvio®

  as a “Competitor Product” to Praluent® in its Form 10-K.22 “Although . . . courts generally must

  accept all factual allegations in the complaint as true,” they need not do so for allegations “directly

  contradicted by . . . matters of which a court may take judicial notice, such as SEC filings.” Sapir

  v. Averback, 2016 WL 554581, at *10 (D.N.J. Feb. 10, 2016). In light of that concession, it has

  not adequately pled that because Leqvio® is covered a different contract with drug buyers (i.e., a

  medical benefit plan) giant health insurance companies would be unable to use Leqvio® to create

  competitive pressure on Repatha®.23


  20
     See Stock Decl., Ex. J at 5 (listing Praluent® as sole PCSK9 inhibitor).
  21
     10-K, https://investor.regeneron.com/static-files/c9a14dfa-086f-4c2f-8a1b-ed5d018edacc
  22
     Id.
  23
     Regeneron’s failure to allege substantial foreclosure, see supra Argument § I.A.2, is also fatal
  to its claims of anticompetitive pricing. Indeed, the threat of below-cost pricing is the exclusion
  of equally efficient rivals from the relevant market. See Eisai, 821 F.3d at 405; see also Cascade
  Health Solutions v. PeaceHealth, 515 F.3d 883, 897 (9th Cir. 2008) (“the principal anticompetitive
  danger of the bundled discounts offered by [the defendant] is that the discounts could freeze [the



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  II.    Regeneron’s Antitrust Claims Also Fail Because It Does Not Allege That Amgen
         Bundles Repatha® With Rebates On A Drug With Monopoly Or Market Power

         Antitrust challenges to bundled rebates require that the defendant has foreclosed

  competition for a particular product (the “competitive product”) by offering customers a price

  concession on a different product over which the defendant has monopoly power (the “monopoly

  product”) on the condition that the customer purchase the competitive product from the defendant.

  See SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056, 1065 (3d Cir. 1978); LePage’s, 324 F.3d

  at 154–56; see also Herbert Hovenkamp, The Obama Administration and Section 2 of the Sherman

  Act, 90 B.U. L. Rev. 1611, 1657–58 (2010). A sufficiently large rebate on a monopoly product

  could, theoretically, coerce a customer into purchasing the competitive product from the defendant,

  because if the customer does not do so, it forfeits the rebate on the “monopoly” product that has

  no substitutes. See Shire US, Inc. v. Allergan, Inc., 375 F. Supp. 3d 538, 555–56 (D.N.J. 2019).

         Coercion can occur, however, only when the competitive product is bundled with, and the

  rebate is offered on, a product over which the defendant has a monopoly. In Shire US, Inc. v.

  Allergan, Inc., for example, Shire argued Allergan’s bundled rebates anticompetitively foreclosed

  Shire’s dry eye disease drug, Xiidra, from the formularies of PBMs. Id. at 543. But Shire’s claim

  failed because it “ha[d] not alleged that [Allergan] ha[d] a monopoly over the glaucoma drugs

  which it bundle[d] with Restasis, the product competing with . . . Xiidra.” Id. at 557; see also

  SmithKline, 575 F.2d at 1065 (condemning conditioning of rebate on “products on which [the

  defendant] faced no competition” on customers also purchasing a “competitive product”);

  LePage’s, 324 F.3d at 157 (condemning defendant “us[ing] monopoly in transparent tape . . . to

  squeeze out” plaintiff from competing on other products by “bundling” those products together).



  plaintiff] out of the market”). But excluding Regeneron from just a limited portion of the market—
  indeed, only a single contract—will not plausibly do so, or result in consumer harm.


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          Similarly, here, Regeneron does not plead ESI or Optum will lose rebates on a monopoly

  product if Repatha® is not covered. For Otezla®, the contracts show that Amgen does not condition

  Otezla® rebates on Repatha® coverage. Thus, to sustain its claims, Regeneron must plausibly

  allege that Enbrel® has a monopoly. But Regeneron concedes it does not. The Complaint

  repeatedly contrasts Otezla®’s supposed “monopoly power in the moderate-to-severe psoriasis

  market” with what it calls Enbrel®’s “market power in the rheumatoid arthritis market.” Compl.

  ¶ 119 (emphases added); see also, e.g., id. ¶ 146 (alleging “Ote[zla]® and Enbrel® . . . possess

  monopoly power and market power, respectively, in the relevant markets” (emphases added)).

  Regeneron has chosen its words carefully as there is a material difference between the two

  concepts. See Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 481 (1992)

  (“Monopoly power . . . requires, of course, something greater than market power.”)

         Regeneron has not even plausibly pled “market power,” which is “the ability to raise prices

  above those that would otherwise prevail in a competitive market.” FTC v. AbbVie Inc., 976 F.3d

  327, 371 (3d Cir. 2020). “A court can infer market power from a market share significantly greater

  than 55 percent. Other germane factors include the size and strength of competing firms, freedom

  of entry, pricing trends and practices in the industry, ability of consumers to substitute comparable

  goods, and consumer demand.” Id. at 371–72 (quotation marks and citation omitted).

         Regeneron carefully avoids alleging the share of the alleged rheumatoid arthritis business

  attributable to Enbrel®. Nor does Regeneron make allegations concerning the “[o]ther germane

  factors” relevant to market power. Id. at 371. It alleges no facts regarding “the size and strength”

  of other manufacturers of rheumatoid arthritis treatments, relevant industry “pricing trends and

  practices,” the ability of patients to “substitute” other rheumatoid arthritis treatments for Enbrel®,

  and patient “demand” for Enbrel®. Id. at 371–72. It thus pleads no facts that can sustain its claims




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  of market power. See Globespanvirata, Inc. v. Tex. Instrument, Inc., 2006 WL 543155, at *4

  (D.N.J. Mar. 3, 2006) (dismissing antitrust claim for failure to allege market power); see also, e.g.,

  Brunson Commc’ns, Inc. v. Arbitron, Inc., 239 F. Supp. 2d 550, 570 (E.D. Pa. 2002) (dismissing

  claims where “[p]laintiff ha[d] not only failed to allege any facts regarding . . . market share, but

  also, none of the other factors associated with monopoly power.”). Moreover, Enbrel® competes

  for multiple indications in addition to rheumatoid arthritis, and Regeneron does not allege that

  competitive treatments for those other indications do not also constrain Enbrel®’s pricing.

         Regeneron’s one factual pleading fails to plausibly suggest market power. It cites two

  charts from a Staff Report from the U.S. House of Representatives Committee on Oversight and

  Reform, depicting increased pricing for Enbrel® from 2003 through 2019. See Compl. ¶¶ 122–23.

  But those charts are irrelevant; they depict data through 2019 whereas the challenged conduct

  allegedly started in 2020. See id. ¶¶ 68, 123. Obviously, a plaintiff must allege market power at

  the time of the allegedly anticompetitive conduct because “[w]ithout market power, a manufacturer

  is not in a position to restrict competition regardless of the restraint imposed.” Inter-City Tire &

  Auto Center, Inc. v. Uniroyal, Inc., 701 F. Supp. 1120, 1123 (D.N.J. 1988). Moreover, to the

  extent the charts reflect anything relevant, it is that at least since 2016, vibrant competition in the

  rheumatoid arthritis business, especially from Humira®, has caused Amgen to lose significant

  Enbrel® sales to other competitive drugs. See Compl. ¶ 123 ($5.05 billion in 2019 Enbrel® net

  U.S. revenue); ¶ 122 ($4.85 billion in 2020 and $4.35 billion in 2021). Regeneron’s allegations

  show that since 2016 Amgen’s net U.S. Enbrel® revenue has fallen by $1.37 billion. See id. ¶ 123.

         Regeneron admits Amgen’s declining revenue from Enbrel® is the result of “Enbrel® . . .

  losing market share to Humira® starting in 2017.” Id. ¶ 122. Humira® is an approved treatment




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  for rheumatoid arthritis and “the highest grossing drug in the world.”24 Regeneron concedes that

  Amgen has lost significant share of the rheumatoid arthritis business to Humira®—and that is the

  antithesis of market power. See 42nd Parallel N. v. E St. Denim Co., 286 F.3d 401, 405 (7th Cir.

  2002) (“A company has market power if it can raise prices above a competitive level without losing

  its business.” (emphases added)); Altitude Sports & Entm’t, LLC v. Comcast Corp., --- F. Supp.

  3d ---, 2020 WL 8255520, at *7 (D. Colo. Nov. 25, 2020) (“The Court agrees” that “los[ing] market

  share” is “the opposite of maintaining market power.” (quotation marks omitted)).

         And the Court need not turn a blind eye to the ample public evidence that Enbrel® faces

  fierce competition in the rheumatoid arthritis market from Humira® and others. “FDA approvals,”

  which are “matters of public record . . . appropriate for judicial notice,” Clements v. Sanofi-

  Aventis, U.S., Inc., 111 F. Supp. 3d 586, 592 n.2 (D.N.J. 2015), as well as Amgen’s contracts,

  demonstrate that Enbrel® competes with numerous FDA-approved treatments for rheumatoid

  arthritis, including the blockbusters Humira® and Remicade®, as well as Xeljanz®, Rinvoq®,

  Orencia®, and Simponi®, among numerous others.25 The alleged market for FDA-approved

  rheumatoid arthritis treatments is rich with competitive alternatives to Enbrel®, and Regeneron

  fails to plead any market share levels. The Complaint thus does not plausibly allege market power.




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      See “Drug Pricing Investigation, AbbVie—Humira and Imbruvica,” Staff Report, at (i) (May
  2021) (the “Humira Staff Report”), https://oversight.house.gov/sites/democrats.oversight.
  house.gov/files/Committee%20on%20Oversight%20and%20Reform%20-%20AbbVie%20
  Staff%20Report.pdf. The Humira Staff Report states that list prices of Enbrel® and Humira®
  increased by roughly the same proportion (5.6 or 5.7) between 2002 and 2020, but that during that
  period U.S. revenue for Enbrel® increased by around 3.88 times, whereas U.S. sales of Humira®
  increased by over 80 times. Compare Compl. ¶¶ 122–23 with Humira Staff Report at 2, 5.
  Between 2016 and 2020, Amgen’s U.S. sales from Enbrel® allegedly fell by $870 million, Compl.
  ¶¶ 122–23, while Humira®’s sales increased by $5.7 billion, Humira Staff Report at 5.
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      See Stock Decl., Ex. K (FDA approval letters); see, e.g., id., Ex. C, at Ex. C (listing products
  Optum considers competitors of Enbrel®).


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  III.   Regeneron’s Remaining Claims Fail

         Regeneron’s UCL claim is derivative of its antitrust claims and therefore must be dismissed

  for the same reasons. See Eastman v. Quest Diagnostics Inc., 2016 WL 1640465, at *13 (N.D.

  Cal. Apr. 26, 2016). Regeneron’s UPA claim fails because Regeneron has not “allege[d], in other

  than conclusionary terms, the defendant’s sales price, costs in the product, and costs of doing

  business,” as the UPA requires. Fisherman’s Wharf Bay Cruise Corp. v. Super. Ct. of San

  Francisco, 114 Cal. App. 4th 309, 322 (Cal. Ct. App. 2003). Regeneron’s tortious interference

  claim fails because Amgen had a “privilege to compete . . . in a fair and lawful manner,” and absent

  an antitrust violation, there is no plausible claim that Amgen won that business unfairly or

  unlawfully. U.S. Bank Nat’l Assn. v. Gunn, 23 F. Supp. 3d 426, 436 (D. Del. 2014) (Andrews,

  J.). Moreover, Regeneron’s assertion that “Amgen acted with dishonest, unfair, or improper means

  by utilizing its sales force to spread misleading facts regarding Praluent®,” Compl. ¶ 259, cannot

  support an antitrust claim based on alleged exclusionary contracting with PBMs given its lack of

  particularity under Fed. R. Civ. P. 9(b) and given that the alleged statements were made “to nurses,

  physicians, and other medical practitioners” and not to ESI, Optum, or any other PBM, id. ¶ 66.

                                           CONCLUSION

         In sum, Counts 1–6, 9, and 10 of the Complaint must be dismissed for failure to allege

  anticompetitive conduct (see Section I), and for failure to allege that rebates on a monopoly product

  were conditioned on Repatha® coverage (see Section II). Counts 7, 8, and 11 must be dismissed

  because they depend largely on the Complaint’s antitrust allegations, which fail to state a claim

  for the reasons discussed herein (see Section III).




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